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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA

IN RE:                                                *
                                                      *       Case No. -
Adrian Stafford Verwayne,                             *
                                                      *
                                                      *
Debtor.                                               *       Chapter 13
                                                      *

                                           CHAPTER 13 PLAN

 Extension      X                                                                        Composition

You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by
the Bankruptcy Court may modify your rights by providing for payment of less than the full
amount of your claim, by setting the value of the collateral securing your claim, and/or by setting
the interest rate on your claim.

Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:

1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee
("Trustee") all or such portion of future earnings or other future income of Debtor as is necessary for the
execution of this Plan.

2. Plan Payments and Length of Plan. Debtor will pay the sum of $1,601.00 per month to Trustee by
[X] Payroll Deduction(s) or by [ ] Direct Payment(s) for the applicable commitment period of thirty-six (36)
months, unless all allowed claims in every class, other than long-term claims, are paid in full in a shorter
period of time. The term of this Plan shall not exceed sixty (60) months. See 11 U.S.C. §§ 1325(b)(1)(B)
and 1325(b)(4). Each pre-confirmation plan payment shall be reduced by any pre-confirmation adequate
protection payment(s) made pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).
          The following alternative provision will apply if selected:
            IF CHECKED, Plan payments will increase by $____ on ____________ upon completion or
            termination of __________.

3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best
estimate and belief. An allowed proof of claim will be controlling, unless the Court orders otherwise.
Objections to claims may be filed before or after confirmation.

4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to
§507(a)(2) as set forth below, unless the holder of such claim or expense has agreed to a different
treatment of its claim.

        (A). Trustee's Fees. The Trustee shall receive a statutory fee in an amount established by the
Attorney General and the United States Trustee.

         (B). Debtor's Attorney's Fees. Debtor and Debtor’s attorney have agreed to a base attorney fee
in the amount of $4,500.00 for the services identified in the Rule 2016(b) disclosure statement filed in this
case. The amount of $0.00 was paid prior to the filing of the case. The Trustee shall disburse the unpaid
amount of the fee, $4,500.00 as allowed under General Order 18-2015, as follows: (1) Upon the first
disbursement following confirmation of a Plan, the Trustee shall disburse to Debtor’s attorney from the
funds available and paid into the office of the Trustee by Debtor or on Debtor’s behalf, up to $4,500.00
after the payment of any payments under 11 U.S.C. § 1326(a)(1)(B) or (C) and administrative fees. The
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remaining balance of the fees shall be paid up to $1,430.00 per month until the fees are paid in full; (2) If
the case is converted prior to confirmation of the plan, Debtor directs the Trustee to pay fees to Debtor’s
attorney from the funds available of $2,000.00; (3) If the case is dismissed prior to confirmation of the
plan, fees for Debtor’s attorney of $2,000.00 as set forth on the 2016(b) disclosure statement are allowed
pursuant to General Order 18-2015 and shall be paid by the Trustee from the funds available without a fee
application. Debtor’s attorney may file a fee application for fees sought over $2,000.00 within 10 days of
the Order of Dismissal; (4) If the case is converted after confirmation of the plan, Debtor directs the
Trustee to pay to Debtor’s attorney from the funds available, any allowed fees which are unpaid; and (5) If
the case is dismissed after confirmation of the plan, Trustee shall pay to Debtor’s attorney from the funds
available, any allowed fees which are unpaid.
         Debtor and Debtor's attorney have further agreed that Debtor's attorney may be paid for
"non-base services" as they are performed on an as needed basis. These non-base services, and the
agreed fee for each, are identified in the Rule 2016(b) disclosure statement in this case. Upon completion
of a non-base service, Debtor's attorney may file an application with the Court, serving all parties in
interest with notice of the application and providing an opportunity to be heard on the matter. If the
non-base fee is approved by the Court, then the non-base fee shall be added to any unpaid balance of the
base fee and paid in accordance with paragraph (B)(1) above. If the base fee has been paid in full, then
the non-base fee shall be paid at the rate of up to $1,430.00 per month, and the distributions to creditors
shall be reduced, pro rata, by that amount until the non-base fee is paid in full

5. Priority Claims.

    A. Domestic Support Obligations. Debtor authorizes that any post-petition domestic support
       obligation payments may be paid through a state or superior court income deduction order.
       Further, DCSS may utilize review and modification procedures of the domestic support obligation
       when allowed under state law as detailed in 11 U.S.C. § 362(b)(2).

        X None. If none, skip to Plan paragraph 5(B).
                  I. Debtor is required to pay all post-petition domestic support obligations directly to the
                     holder of the claim.
                  II.The name(s) and address(es) of the holder of any domestic support obligation are as
                     follows. See 11 U.S.C. §§ 101(14A) and 302(b)(6).


                  III.     Anticipated Domestic Support Obligation Arrearage Claims
                           a) Unless otherwise specified in this Plan, priority claims under 11 U.S.C. §
                               507(a)(1) will be paid in full pursuant to 11 U.S.C. § 1322(a)(2). These claims
                               will be paid at the same time as claims secured by personal property,
                               arrearage claims secured by real property, and arrearage claims for assumed
                               leases or executory contracts.
        X None; or
                                                                                            Projected Monthly
                    Creditor (Name and Address)                Estimated Arrearage Claim
                                                                                           Arrearage Payment


                           b) Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support
                              obligation claims are assigned to, owed to, or recoverable by a governmental
                              unit.
        X None; or
 Claimant and proposed treatment:



    B. Other Priority Claims (e.g., tax claims). All other allowed priority claims will be paid in full, but
       will not be funded until after all secured claims, lease arrearage claims, and domestic support
       claims are paid in full.
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            Creditor                                                          Estimated Claim
           Internal Revenue Service                                               $0.00
        Georgia Department of Revenue                                            Unknown


6. Secured Claims.

   A. Claims Secured by Personal Property Which Debtor Intends to Retain.

           I. Pre-confirmation adequate protection payments. No later than 30 days after the date of
              the filing of this plan or the order for relief, whichever is earlier, the Debtor shall make the
              following adequate protection payments to creditors pursuant to § 1326(a)(1)(C). If the
              Debtor elects to make such adequate protection payments on allowed claims to the Trustee
              pending confirmation of the plan, the creditor shall have an administrative lien on such
              payment(s), subject to objection. If Debtor elects to make such adequate protection
              payments directly to the creditor, Debtor shall provide evidence of such payment to the
              Trustee, including the amount and date of the payment.
               Debtor shall make the following adequate protection payments:
                   directly to the creditor; or
                   x   to the Trustee pending confirmation of the plan.

    None; or
               Creditor                                    Collateral                           Monthly Payment
      FLAGSHIP CREDIT
                                                  2016 Mitsubishi Outlander                        $50.00
         ACCEPTAN

           II.Post confirmation payments. Post-confirmation payments to creditors holding claims
              secured by personal property shall be paid as set forth in subparagraphs (a) and (b). If
              Debtor elects to propose a different method of payment, such provision is set forth in
              subparagraph (c).

          a)       Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection
                   consist of debts secured by a purchase money security interest in a vehicle for which the
                   debt was incurred within 910 days of filing the bankruptcy petition, or, if the collateral for
                   the debt is any other thing of value, the debt was incurred within 1 year of filing. See §
                   1325(a)(5). After confirmation of the plan, the Trustee will pay to the holder of each
                   allowed secured claim the monthly payment in column (f) based upon the amount of the
                   claim in column (d) with interest at the rate stated in column (e). Upon confirmation of the
                   plan, the interest rate shown below or as modified will be binding unless a timely written
                   objection to confirmation is filed and sustained by the Court. Payments distributed by the
                   Trustee are subject to the availability of funds.

    None; or
                                                                                                            Monthly
        Creditor                     Collateral           Purchase Date   Claim Amount   Interest Rate
                                                                                                            Payment
 FLAGSHIP CREDIT        2016 Mitsubishi
                                            June 18, 2016 $25,798.00       4.25%      $50.00
     ACCEPTAN              Outlander
Post-confirmation monthly payments to creditor shall increase to $761.00 beginning August
2017.


          b)       Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist
                   of any claims secured by personal property not described in Plan paragraph 6(A)(ii)(a).
                   After confirmation of the plan, the Trustee will pay to the holder of each allowed secured
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                    claim the monthly payment in column (f) based upon the replacement value as stated in
                    column (d) or the amount of the claim, whichever is less, with interest at the rate stated in
                    column (e). The portion of any allowed claim that exceeds the value indicated below will
                    be treated as an unsecured claim. Upon confirmation of the plan, the valuation and
                    interest rate shown below or as modified will be binding unless a timely written objection
                    to confirmation is filed and sustained by the Court. Payments distributed by the Trustee
                    are subject to the availability of funds.

 X None; or
                                                                                      Replacement                           Monthly
         Creditor                     Collateral                Purchase Date                            Interest Rate
                                                                                        Amount                              Payment




    B. Claims Secured by Real Property Which Debtor Intends to Retain.
    Debtor will make all post-petition mortgage payments directly to each mortgage creditor as those
    payments ordinarily come due. These regular monthly mortgage payments, which may be adjusted
    up or down as provided for under the loan documents, are due beginning the first due date after the
    case is filed and continuing each month thereafter, unless this Plan provides otherwise. Trustee may
    pay each allowed arrearage claim at the monthly rate indicated below until paid in full. Trustee will pay
    interest on the mortgage arrearage upon request, unless an objection to the claim is filed and an order
    is entered disallowing the requested interest.

     None; or
                                                                                                                  Projected Monthly
         Creditor                        Property Description                   Pre-Petition Arrearage
                                                                                                                  Arreage Payment
      FREEDOM               130 Wynfield Way
                                                           $25,372.00              $15.00
    MORTGAGE                Atlanta, GA 30331
Post-confirmation monthly payments to creditor shall increase to $749.00 beginning August
2017.
  Heritage Property         130 Wynfield Way
                                                             $150.00               $15.00
  Mgmt. Svcs., Inc.         Atlanta, GA 30331

    C. Surrender of Collateral.
    Debtor will surrender the following collateral no later than thirty (30) days from the filing of the petition
    unless specified otherwise in the Plan. Any claim filed by a secured lien holder whose collateral is
    surrendered will be treated as unsecured. Any involuntary repossession/foreclosure prior to
    confirmation of this Plan must be obtained by a filed motion and Court order, unless the automatic
    stay no longer applies under § 362(c). Upon Plan confirmation, the automatic stay will be deemed
    lifted for the collateral identified below for surrender and the creditor need not file a Motion to Lift the
    Stay in order to repossess, foreclose upon or sell the collateral. Nothing herein is intended to lift any
    applicable co-Debtor stay, or to abrogate Debtor's state law contract rights.

  X None; or
                           Creditor                                                    Collateral to be Surrendered




7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately
   classified in Plan paragraph 10 is $13,856.00. After all other classes have been paid, Trustee will pay
   to the creditors with allowed general unsecured claims a pro rata share of $0.00 or 100.00%,
   whichever is greater. Trustee is authorized to increase this dollar amount or percentage, if necessary,
   in order to comply with the applicable commitment period stated in paragraph 2 of this Plan.

8. Executory Contracts and Unexpired Leases. The following executory contracts and unexpired
   leases are assumed, and payments due after the filing of the case will be paid directly by Debtor, not
   through Trustee, as set forth below in column (c). Debtor proposes to cure any default by paying the
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     arrearage on the assumed leases or contracts in the amounts projected in column (e) at the same
     time that payments are made to secured creditors. All other executory contracts and unexpired
     leases of personal property are rejected upon conclusion of the confirmation hearing.
         X None; or
                                         (b)                         (c)                                       (e)
             (a)                                                                       (d)
                                 Nature of Lease or         Payment to be paid                    Projected Arrearage monthly
           Creditor                                                               Total Arrears
                                 Executory Contract          directly by Debtor                      payment through plan



9. Property of the Estate. Property of the estate shall not vest in Debtor until the earlier of Debtor's
discharge or dismissal of this case, unless the Court orders otherwise.

10. Other Provisions:

Special classes of unsecured claims. Debtor’s student loans shall be deferred throughout the term of
the bankruptcy. When Debtor’s student loans do not remain in deferment, they will be repaid directly by
Debtor.
a)   Other allowed secured claims. A proof of claim which is filed and allowed as a secured claim, but is
     not treated specifically under the plan, shall be funded with 0% interest as funds become available
     after satisfaction of the allowed secured claims which have been treated by the plan and prior to
     payment of allowed non-administrative priority claims (except domestic support obligation claims as
     set forth in paragraph 5(A), above) and general unsecured claims. Notwithstanding the foregoing,
     the Debtor or any other party in interest may object to the allowance of the claim.
b)   Federal Tax Returns. Any federal tax refunds the Debtor receives that end during the applicable
     commitment period of this bankruptcy shall be paid into the Debtor's Chapter 13 case. Further,
     Debtor authorizes and instructs the Internal Revenue Service to send any refund for said years
     directly to the Debtor’s Chapter 13 Trustee. 11 U.S.C. §§ 1325(a)(3) and 1325(b)(1)(B). DEBTOR
     MAY RETAIN UP TO $1,500.00 OF EACH YEAR'S TAX REFUND WITHOUT FILING A MOTION
     UPON WRITTEN REQUEST TO THE CHAPTER 13 TRUSTEE.
c)   Claims subject to lien avoidance pursuant to 11 U.S.C. §§ 506(a), (d), and 522(f): The allowed
     secured claim of each creditor listed below shall not be funded until all allowed, secured claims which
     are being treated by the plan are satisfied. If an order is entered avoiding the creditor's lien, the
     creditor's claim shall be treated as a general, unsecured claim to the extent it is not otherwise
     secured by property of the estate and treated by the plan. To the extent that the creditor's lien is not
     avoided and is not otherwise treated by the plan, the secured claim shall be funded as set forth in the
     above paragraph. This paragraph shall apply to the following creditors:



 Dated this Friday, January 20, 2017.


                                                      /S/                                                               /S/
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